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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ALI EL-KHALIL, D.P.M.,
                  Plaintiff,                 Case No.


v.
ANTHONY TEDESCHI, MOHAMMED KHALIL, NSIMA USEN,
MAHMUD ZAMLUT, LEONARD ELLISON
And THE DETROIT MEDICAL CENTER,
A Domestic Not for Profit Corporation,

                  Defendants.


BEN M. GONEK (P43716)
Law Offices of Ben M. Gonek, PLLC
Attorney for Plaintiff
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Detroit, Michigan 48226
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                    COMPLAINT AND JURY DEMAND

      NOW COMES Plaintiff, ALI EL-KHALIL, by and through his attorneys,

LAW OFFICES OF BEN M. GONEK, PLLC and hereby complains of all the

named Defendants, as follows:

                       PARTIES AND JURISDICTION
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      1.     Plaintiff Dr. Ali El-Khalil, (hereinafter referred to as “Plaintiff” or

“Dr. El Khalil”), is a current resident of Dearborn Heights, Michigan.

      2.     Plaintiff is a podiatrist licensed to practice podiatry in the State of

Michigan and had full privileges at Defendant The Detroit Medical Center since

2008, until recently.

      3.     Defendant Anthony Tedeschi is a licensed Medical Doctor who is the

Chief Executive Officer for the The Detroit Medical Center.

      4.     Defendant Mohamed Khalil is a podiatrist licensed practice to

podiatry in the State of Michigan as is a resident of the City of Dearborn Heights,

Wayne County, Michigan. Defendant Khalil also has staff privileges at Defendant

The Detroit Medical Center.

      5.     Defendant Nsima Usen is a podiatrist licensed practice to podiatry in

the State of Michigan as is a resident of the City of Dearborn Heights, Wayne

County, Michigan. Defendant Usen also has staff privileges at Defendant The

Detroit Medical Center.

      6.     Defendant Mahmud Zamlut is physician licensed to practice medicine

in the State of Michigan and is a resident of West Bloomfield Township, Oakland

County, Michigan. Dr. Zamlut also has staff privileges at Defendant Detroit

Medical Center.




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      7.     Defendant Leonard Ellison is a physician licensed to practice

medicine in the State of Michigan and upon information and belief is a resident of

Oakland County, Michigan. Dr. Ellison also has staff privileges at Defendant The

Detroit Medical Center.

      8.     Defendant The Detroit Medical Center (hereinafter referred to as

“DMC” or “Defendant DMC”) is a domestic Non Profit Corporation operating out

of Detroit, Michigan in the county of Wayne.

      9.     The court has subject-matter jurisdiction in this action pursuant to 28

U.S.C. § 1331, 28 U.S.C. § 2601 et seq and 29 U.S.C. § 794(a).

      10.    Venue is proper in the Eastern District of Michigan pursuant to 28

U.S.C. § 1391(b), as it is in the district in which Defendants conduct business.

      11.    Plaintiff brings this retaliation action on her own behalf under the

False Claims Act, 31 U.S.C. § 3729 et seq.      This Court has jurisdiction over this

case pursuant to 31 U.S.C. §§ 3732(a) and 3730(b). This Court also has

jurisdiction pursuant to 28 U.S.C. §§ 1345 and 1331.

      12.    Plaintiff Dr. El-Khalil, D.P.M., reported to Defendant The Detroit

Medical Center various health care fraud wherein all the Defendants were violating

the False Claims Act. Plaintiff also reported to the Defendants that he reported

their health care fraud which violated the False Claims Act to the Government.

Shortly, thereafter Plaintiff’s staff privileges were not renewed in retaliation by


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Defendants. Plaintiff has never had any malpractice suits or state related

disciplinary actions by any Governmental agency lodged against him and his

hospital privileges should have been renewed.


                                INTRODUCTION

      13.    Plaintiff obtained staff privileges at Defendant The Detroit Medical

Center in 2008. Staff Privileges need to be renewed every two years.

      14.    From 2008 until the present time, Plaintiff has never had any type of

malpractice complaint filed against him nor has he ever had any type of patient

complaint while having staff privileges at the Detroit Medical Center.

Additionally, Plaintiff has not had any LARA investigations or administrative

complaints by any state agency.

      15.    In addition to having staff privileges at Defendant The Detroit

Medical Center, Plaintiff has staff privileges at Henry Ford Wyandotte and Garden

City Hospital.

      16.    Plaintiff has never had any complaints lodged against him at either

Henry Ford Hospital Wyandotte and/or Garden City Hospital.

      17.    Up until 2015, Plaintiff had staff privileges at Beaumont Dearborn

f/k/a Oakwood Dearborn. Plaintiff’s privileges were not renewed after he reported

various staff members for committing health care fraud. Since his privileges were

not renewed at Beaumont Dearborn, a number of the individuals Plaintiff made
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complaints against have lost their privileges at Beaumont Dearborn, have had their

enrollment in certain insurance companies terminated, and/or have been sued

civilly by Automobile insurance companies for RICO due to their fraudulent

activities that Plaintiff had previously reported.

      18.    Back in 2015/2016 when Plaintiff sought to renew his privileges,

Plaintiff informed Defendant The Detroit Medical Center that his privileges were

not renewed at Beaumont Dearborn because he reported various providers to the

Federal Government for violating the False Claims Act.

      19.    Plaintiff’s privileges were renewed in 2015/2016 by the Defendant

The Detroit Medical Center despite being advised that Plaintiff’s privileges were

not renewed at Beaumont Dearborn.

      20.    Since Plaintiff’s privileges were renewed by Defendant The Detroit

Medical Center in 2015/2016, Plaintiff has reported suspected heath care fraud to

federal authorities that involve the payment of Medicare monies to the perpetrators

of said suspected fraud. The perpetrators of the suspected health care fraud are the

Defendants in this case, associates of the Defendants, and others.

      21.    The Defendants learned that Plaintiff reported the suspected health

care fraud involving Medicare monies to Federal authorities and specifically

threatened Plaintiff that he would be sorry for doing such. These threats were

made on several occasions.


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       22.   During mid-January of 2018, Plaintiff learned that his privileges were

suspended and he subsequently learned that his privileges would not be renewed.

       23.   Plaintiff’s privileges at the Defendant the Detroit Medical Center were

not renewed in retaliation for Plaintiff reporting the suspected health care fraud

perpetrated by all of the Defendants. The actions of all the Defendant was with

malice and done in bad faith. Defendants actions were in violation of the anti

retaliation provision of the False Claims Act.

       24.   Plaintiff is also seeking damages against the individual Defendants for

tortuously interfering with his business relationship with physicians that consult

him.

       25.   Plaintiff is seeking monetary damages and will be seeking

declaratory/injunctive relief as well.


                     FACTUAL SPECIFIC ALLEGATIONS


       26.   In 2015/2016 when Plaintiff’s privileges were not renewed at the

Beaumont campuses, Plaintiff began admitting more patients and treating more

patients at the Defendant The Detroit Medical Center.

       27.   While treating patients at Defendant The Detroit Medical Center,

Plaintiff observed health care fraud being perpetrated by other health care

providers including Defendant The Detroit Medical Center.


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      28.     The individuals perpetrating health care fraud which included

submitting claims to Medicare for what would be characterized as false claims are

Mohammed Khalil, Nsima Usen, Mahmud Zamlut, Leonard Ellison and the Detroit

Medical Center.

      29.     The specific fraud as outlined below was reported by Plaintiff to both

Defendant Tedeschi, the Administration of the The Detroit Medical Center, and the

Federal Government.

                    HEALTH CARE FRAUD PERPETRATED BY
                       DEFENDANTS KHALIL AND USEN

      30.     As stated above, Defendants Mohammed Khalil and Nsima Usen are

podiatrists licensed to practice podiatry in the State of Michigan.

      31.     Both Defendants Khalil and Usen have had privileges at Defendant

The Detroit Medical Center since 2008.

      32.     Upon information and belief, several years ago Defendant The Detroit

Medical Center discovered that both Defendants Khalil and Usen were performing

unnecessary medical procedures which included performed procedures which were

done in an incompetent manner.

      33.     Upon information and belief, after discovering this, Defendant The

Detroit Medical Center required that Defendants Khalil and Usen get permission

from the Head of Orthopedics, Dr. Juib Suiemann, before performing any

procedures.
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      34.   Several years ago after Dr. Suiemann stopped practicing at Defendant

The Detroit Medical Center, Defendants Khalil and Usen were no longer required

to seek approval by any Department leaders regarding procedures performed at the

Defendant The Detroit Medical Center.

      35.   Thereafter Defendants Khalil and Usen began engaging in providing

unnecessary medical procedures and once again performing procedures in a

incompetent manner placing patients at risk.

      36.   Defendants Khalil and Usen were and continue to bill Medicare for

these unnecessary medical procedures in violation of the False Claims Act.

      37.   Vangjo Cobani, DPM is a licensed podiatrist, having graduated

   from podiatry school, but did not complete his residency.

      38.   As such, he is not an authorized provider for any insurance

   company or the Government.

      39.   Defendants Khalil and Usen hired Cobani as a stand-in, to see

   patients in their stead so they could bill for Cobani’s work under their

   respective NPI’s.

      40.   From approximately 2010 through 2017, Cobani went to nursing

   homes, saw patients, and “billed” as Khalil or Usen, under Khalil’s or Usen’s

   NPI.




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     41.    Defendants Khalil and Usen, who did not see the patients in

  question, pocketed 70% of the billings generated in this fashion and paid

  Cobani 30%.

     42.    Many of the patients, if not most, seen by Cobani under this

  arrangement were demented, obtunded or both and didn’t know who Cobani

  really was.

     43.    Cobani, to avoid detection by nursing home administrators, would

  round early in the morning or late at night, dictate his note and leave.

     44.    Defendants Khalil and Usen did not supervise Cobani in any sense.

  They billed for his work under false pretenses.

     45.    Defendants Khalil and Usen billed under their NPI’s for work done by

  Cobani, knowing the bills were false while the Government did not.

     46.    Defendants Khalil and Usen also performed many unneeded

 medical procedures on patients using their associate Defendant Tameka

 Taylor.

     47.    In the next paragraphs, Plaintiff has outlined examples of

 unnecessary surgeries and medical procedures performed by Defendants Usen

 and Khalil as well as their associate Tameka Taylor in which Medicare was

 fraudulent billed for unneeded services.




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   I.    PATIENT A

         a. Patient A is a 46 year old female with uncontrolled diabetes and

            associated vascular disease. Like many uncontrolled diabetics she

            has inappropriate blood supply to her feet, exposing her to the risk

            of infection, abscess, fractures, tissue death and amputation.

         b. Defendants began treating Patient A in April, 2015. A general

            surgeon had operated on her right great toe on March 26, 2015.

         c. Unsurprisingly given her pre-existing condition, Patient A’s right

            great toe did not heal normally after the surgery.

         d. On April 2, 2015, Usen took Patient A to surgery. It was to be the

            first of many billing events for Defendants involving Patient A.

            Usen billed for “Incision and Drainage of Right Great Toe

            Abscess.” He also claims to have performed a bone biopsy, and

            billed for it.

         e. Usen began a long series of predictably fruitless (for Patient A) but

            economically fruitful (for Defendants) surgeries on Patient A’s feet.

         f. Khalil, Usen and Nasser performed at least twelve additional

            surgeries on Patient A’s feet, and billed for them, between April 8,

            2015 and November 6, 2017.




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         g. In addition, Khalil, Usen, Nasser and Taylor saw Patient A in their

            office, in hospitals, and in nursing homes on a near daily basis,

            billing continually.

         h. A review of the billing records reveals that Defendants routinely

            billed for a level of treatment that is not documented in the medical

            chart of Patient A. Minor suturing became deep debridement.

            Routine washings became delayed primary closure. This enabled

            defendants to upcode to a more lucrative CPT designation.

         i. Over time, Patient A’s feet gradually were removed, piece by piece,

            instead of with the obviously needed earlier amputation. The

            piecemeal removal of foot parts over time enriched Defendants,

            who could not perform an amputation, above or below the knee, as

            podiatrists.

         j. Eventually Patient A was classified as having a Stage One charcot

            foot, meaning the bones in the foot were softening due to diabetes

            and associated insufficient blood supply.

         k. Nailing a Stage One charcot foot together with hardware is

            contraindicated but Defendants did anyway. Not only could they

            bill for inserting the hardware, they could later bill for removing it.




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         l. By November, 2017 Patient A had lost most of both feet and still

            had not received the obviously needed amputations. Once the feet

            are amputated the podiatrist’s billing opportunity is gone.

   II.   PATIENT B

         a. Patient B is a 65-year old male who, although a poor historian,

            appears to have diabetes, osteomyelitis, past deep venous

            thrombosis resulting in placement of a vena cava filter, alcohol

            abuse and chronic extremity pain. He had a right transmetatarsal

            amputation and later a left hallux (great toe) amputation. He was

            prone to develop additional blood clots and was being medically

            managed on blood thinners.

         b. Defendants were consulted to follow Patient B’s podiatric care. In

            doing so they display visible effort to max out billing by timing

            their respective interventions to steer around “global periods”

            during which the original provider is expected to perform routine

            follow up without additional charge.

         c. To illustrate, Taylor amputated the left hallux on 12-3-15.

         d. The next day, 12-4-15, Usen and not Taylor followed up on the

            floor providing routine post-operative care that Taylor would have




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            been expected to provide without charge. Usen could pretend this

            was a new patient for him and bill, which he did.

         e. Usen also billed for routine follow up on 12-5 and 12-6, since

            Taylor could not without running afoul of the global period. See

            CPT 13160, which states the post-op global period is 90 days.

         f. On 12-7-15, it was decided the patient needed another surgical

            procedure, this time a debridement. Since Taylor could not fully

            bill for it so soon after her surgery, Usen performed the surgery and

            billed for it as if new.

         g. The next day, 12-8-15, Taylor came to the floor and performed a

            routine follow up check. She billed for it, because it was Usen’s

            surgery, not hers. She could pretend she was “new.”

         h. On 12-14-15 Khalil performed a podiatric consultation as if the

            patient was a stranger to him. If Taylor or Usen had done the same

            thing it would have been free. See CPT Codes 99222 and 99223.

         i. On 12-15-15 Taylor saw the patient and billed as a “modifier.” The

            global period should have required her to perform this service

            without charge. To label her service a “modifier” implied falsely

            that the service was unrelated to the original surgery.




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         j. On 12-22-15 Khalil, not Taylor or Usen, saw the patient because

            Taylor and Usen wouldn’t have been paid. Each had operated on

            Patient B within 90 days.

         k. On 1-5-16 Usen fraudulently billed for a follow up visit falsely

            labeling it a “modifier,” that is, not related to the earlier service for

            which the 90 day global period had not expired.

         l. On 1-19-16 Usen again fraudulently billed for services provided to

            Patient B as a supposed “modifier” when use of that designation

            was false and fraudulent.

         m. Patient B was readmitted to the DMC Sinai-Grace Hospital on 2-

            16-16. Khalil and Usen have a contract to operate a foot pain clinic

            there.

         n. On 2-18-16 Khalil billed for a progress note, because Taylor and

            Usen were still within their respective global periods.

         o. On 2-19-16 Usen billed. To get around the global period he claimed

            falsely to be entitled to “modifier” status.

         p. On 3-2-16 Taylor saw Patient B in the pain clinic, because the

            global period had expired. The same pattern then repeated itself.

         q. Beginning in 3-9-16 Defendants Khalil and Usen had the patient

            transported from his nursing home to the pain clinic so they could


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            bill for weekly visits. They could have provided the same level of

            care safely, and with less expense and discomfort to Patient B, at

            the nursing home.

         r. Khalil and Usen have a contract with DMC Sinai-Grace to operate

            the pain clinic there, and Khalil and Usen were motivated to

            generate lucrative facility fees for DMC when such were

            unnecessary. Patient B could have been seen at his nursing home.

         s. On 3-31-16 Patient B was transported to DMC Sinai-Grace for a

            Doppler study. This is a type of ultrasound, a dimensional study to

            assess for DVT. Patient B was already receiving blood thinners and

            had a vena cava filter to snare any blood clots inclined to embolize

            into the heart. DMC would receive a lucrative facility fee for this

            Doppler study.

         t. On 4-28-16 Khalil amputated the left second toe.

         u. On 4-29-16 Usen, naturally not Khalil, saw Patient B in follow up

            and billed when Khalil could not have.

         v. Review of Patient B’s medical records through November, 2017

            reveals the same repeating pattern of Khalil, Usen, Taylor and,

            beginning in 2017 Nasser, timing their visits based on who could

            get paid and who couldn’t.


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            w. Nasser first saw Patient B on 9-23-17. Nasser, as a new physician

               with no history with the patients of the practice, was a more

               lucrative billing asset since he had fewer global periods to contend

               with.

      48.      In addition to the unneeded medical procedures as outlined above,

Drs. Usen and Khalil received many unneeded referrals from Defendant Dr.

Zamlut, who was also perpetrating medical fraud.

      49.      Dr. Zamlut is an employee of Team Health. During Plaintiff’s

tenure at The Detroit Medical Center, Plaintiff was advised that Dr. Zamlut was

upcoding and provided unnecessary referrals to both Dr. Khalil and Usen.

      50.      Plaintiff learned that Dr. Zamlut was upcoding and billing at higher

level visits the patients he saw on a daily basis at The Detroit medical Center.

      51.      In fact an examination of Dr. Zamlut’s billings submitted to

Medicare reflected that he would be working in excess of 24 hours a day.

      52.      Plaintiff also learned that Dr. Zamlut also ordered unnecessary

consultations by both Defendants Usen and Khalil on a substantial number of

the patients he treated.

      53.      In addition to the fraudulent billings, and unnecessary consultations

perpetrated by Defendant Zamlut, Plaintiff learned that Defendant Zamlut was




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causing his employer to contribute large sums of money to Defendant Ellison in

exchange for consultations from Defendant Ellison.

      54.    Plaintiff also learned that Nachelle Lester who works at Defendant

The Detroit Medical Center was soliciting gifts in exchange for specialists

receiving consultations from Dr. Ellison.

      55.    Upon information and belief Nachelle Lester was instrumental in

orchestrating consults for Defendant Ellison.

      56.    When Plaintiff learned this information, he reported it to the

Administration at The Detroit Medical Center and the Federal Government.

      57.    Defendants learned that Plaintiff reported this fraudulent conduct to

both the Administration at The Detroit Medical Center.

      58.    Plaintiff sought to renew his privileges at Defendant The Detroit

Medical Center during the spring of 2017.

      59.    Plaintiff was informed his privileges were renewed.

      60.    Thereafter several of the Defendants and others that Plaintiff

reported to the Federal Government the Administration at Defendant The Detroit

Medical Center for violating the False Claims Act saw to it to have Plaintiff’s

privileges terminated.

      61.    Without any notice in mid January of 2018, Plaintiff’s privileges at

Defendant The Detroit Medical Center were revoked/not renewed.


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      62.    This adverse action taken by Defendant The Detroit Medical Center

was in retaliation for Plaintiff reporting the violations of the False Claims Act by

the individual Defendants and others associated with the Defendant The Detroit

Medical Center.

      63.    Plaintiff realleges and incorporates the previous paragraphs by

reference.

                              COUNT ONE
                VIOLATON OF THE RETALIATION PROVISION
                       OF THE FALSE CLAIMS ACT

      64.    The retaliation provision of the False Claims Act protects an

employee, associated other, and/ or contractor from being “discharged, demoted,

suspended, threatened, harassed, or in any other manner discriminated against in

the terms and conditions of employment because of lawful acts done by the

employee, contractor, agent or associated others in furtherance of an action under

this section or other efforts to stop 1 or more violations of this subchapter.” 31

U.S.C. § 3730(h).

      65.    Relief for violating this section includes reinstatement of the

employee, contractor, or agent with the same level of seniority that person would

have had but for the discriminatory conduct, as well as double damages for back

pay, interest on back pay, and special damages. Relief also includes reasonable

attorneys’ fees. Id. §3730(h)(1)(b).


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      66.     Plaintiff’s hospital privileges were terminated and/or not renewed due

to his reporting the violations of the False Claims Act by the Defendants and others

associated with Defendant The Detroit Medical Center.

      67.     As a direct and proximate cause of Defendants’ illegal conduct,

Plaintiff sustained damages to his reputation, earning ability, as well as humiliation

and embarrassment.

      68.     Plaintiff is entitled to damages in excess of $75,000 for Defendants

unlawful conduct.

   WHEREFORE Plaintiff respectfully requests that this Court enter Judgment in

his favor and any other relief he may be entitled to for an amount in excess of

$75,000.00.

                                     JURY DEMAND

   Plaintiff demands a jury trial.



                                               Respectfully submitted,

                                               /s/ Ben Gonek
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                                               LAW OFFICES OF BEN GONEK PLLC
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   Dated: September 5, 2018




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